         Case: 09-1539       Page: 1       Date Filed: 03/17/2009 Entry ID: 3527665
                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                     ___________________

                                         No: 09-1539
                                     ___________________

                                    United States of America,

                                                Plaintiff - Appellee

                                                  v.

                           Terry Terrell Samuels, also known as T.G.,

                                   Defendant - Appellant
______________________________________________________________________________

        Appeal from U. S. District Court for the Northern District of Iowa - Dubuque
                                  (2:06-cr-01020-LRR-1)
______________________________________________________________________________

                                          JUDGMENT

       This court has reviewed the original file of the United States District Court. It is ordered

by the court that the judgment of the district court is summarily affirmed in accordance with

Eighth Circuit Rule 47A(a). See United States v. Tingle, 524 F.3d 839 (8th Cir. 2008) (per

curiam), cert. denied, 129 S. Ct. 473 (2008) (No. 08-6393); United States v. Jones, 523 F.3d

881 (8th Cir. 2008) (per curiam).

                                                       March 17, 2009




Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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